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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA

 IN RE:
                                                CHAPTER 7
 Lisa Ann DeGennaro
                                                BANKRUPTCY NO. 18-05568-dd
                   Debtor(s)

               ORDER REGARDING MOTION FOR RELIEF FROM STAY

       This matter came before the Court on the motion filed by Freedom Mortgage

Corporation, (hereinafter “Movant”), for relief from the 11 U.S.C. §362 automatic stay. The

Chapter 7 Trustee Kevin Campbell filed an objection to the motion on December 11, 2018. The

Debtor did not file an objection.

       It appears that the Movant and Trustee have agreed that the automatic stay should remain

in place in order to provide the Trustee the opportunity to sell the Debtor’s property located at

942 Columbus Drive, Brick, NJ 08724, (hereinafter “Property”), which would provide for the

payment in full of the debt owed to Movant on the subject mortgage loan, within a period of one

hundred and twenty (120) days from the date of this Order. The claimant agrees to waive any

claim that may arise under 11 U.S.C. Section 503(b) or Section 507(b) as a result of this Order.

The claimant further agrees that any funds realized from the sale of the collateral, in excess of all

liens, costs, and expenses, will be paid to the Trustee. The Movant and Trustee wish to

incorporate this agreement into an Order of this Court. Therefore,

       IT IS ORDERED that the motion to modify the automatic stay filed by the Movant be

denied, and that the automatic stay remain in place, in order to provide the trustee an opportunity

to sell the Property. Should the Trustee fail to sell the Property within a period of one hundred

and twenty (120) days from the date of this Order, relief from stay may be provided without

further hearing upon the filing of an affidavit of default by Movant and the entry of the proposed
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order by the Court. Movant may then proceed with its state court remedies against the property,

including sending any required notice to Debtor(s).

       IT IS SO ORDERED.




WE CONSENT:


/s/John B. Kelchner                                   /s/Suzanne Campbell Chisholm_________
John B. Kelchner (ID #6987)                           Suzanne Campbell Chisholm (ID# 10274)
John S. Kay (ID #3936)                                Chapter 7 Trustee
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